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                              EXHIBIT 4
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                                        Wu Yukun
                                      May 24, 2023

  · · · · · · · · · UNITED STATES DISTRICT COURT
  · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
  ·
  · · · · · · · ·CASE NO. 21-60125-CIV-SCOLA/GOODMAN
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  · · ·JIANGMEN BENLIDA PRINTED
  · · ·CIRCUIT CO., LTD.,
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  · · · · · · · ·Plaintiff,
  ·
  · · · · · vs.
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  · · ·CIRCUITRONIX, LLC,
  ·
  · · · · · · · ·Defendant.
  · · ·________________________________/

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  · · · · · · · · · · TRANSCRIPT OF PROCEEDINGS
  · · · · · · · · · · ·DEPOSITION OF WU YUKUN

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  · · · · · · · · · · ·Wednesday, May 24, 2023
  · · · · · · ·One Southeast Third Avenue, Suite 2300
  · · · · · · · · · · · Miami, Florida· 33131
  · · · · · · · · · · · 9:18 a.m. - 7:58 a.m.
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  · · · · · · · · · · · · ·LAUREL A. MAZUR
  · · · · · · · · · Florida Professional Reporter

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  ·1· · · · A· · Because I don't have the computer data with

  ·2· ·me, so I can only say, like, an approximate number.

  ·3· · · · Q· · Please tell me the best approximate number

  ·4· ·you can come up with today.

  ·5· · · · A· · So it's about $12,610,000.

  ·6· · · · Q· · When you were saying that when Benlida

  ·7· ·receives a premium it applies that premium to the

  ·8· ·amount of the debt, were you referring to the

  ·9· ·110 percent that Circuitronix has been paying for

  10· ·invoices to Benlida, the extra 10 percent?

  11· · · · · · ·THE INTERPRETER:· I need to hear the question

  12· · · · again.

  13· · · · · · ·MR. ROSENTHAL:· I will state it again

  14· · · · concisely.

  15· ·BY MR. ROSENTHAL:

  16· · · · Q· · When you were referring to premiums a few

  17· ·minutes ago, were you referring to the 110 percent that

  18· ·Circuitronix has been paying Benlida?

  19· · · · · · ·THE INTERPRETER:· I am so sorry.· I am not

  20· · · · sure if I get the number right.· 110 percent?

  21· · · · · · ·MR. ROSENTHAL:· Yes, more than a hundred

  22· · · · percent.· 110 percent.

  23· · · · · · ·THE INTERPRETER:· Oh, 110 percent.

  24· · · · · · ·THE WITNESS:· So anything exceeding the

  25· · · · hundred percent, and is not necessary 110 percent.


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  ·1· ·BY MR. ROSENTHAL:

  ·2· · · · Q· · Any amount exceeding 100 percent of an

  ·3· ·invoice that Circuitronix has been paying, that is the

  ·4· ·premium?· Is that what you are calling the premium?

  ·5· · · · A· · Correct.

  ·6· · · · Q· · And that premium is something that Sinosure

  ·7· ·required to pay Benlida to charge Circuitronix?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · When did that start?

  10· · · · A· · I don't quite remember when that starts, but

  11· ·it could be at the end of 2019 or at the beginning of

  12· ·2020.

  13· · · · Q· · Are you familiar with events before you

  14· ·joined Benlida concerning discussions between

  15· ·Circuitronix and Benlida about how much money

  16· ·Circuitronix owes?

  17· · · · A· · I am not quite sure if I understand your

  18· ·question.· Is it about whether or not I am familiar

  19· ·with the fact that Circuitronix owes a lot of money to

  20· ·Benlida, or is it about whether or not I am familiar

  21· ·with the communication between Benlida and

  22· ·Circuitronix?

  23· · · · Q· · The latter.· The second.

  24· · · · A· · Well, about communication, I do read the

  25· ·meeting minutes.


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  ·1· · · · to do that.· I understand.

  ·2· · · · · · ·MR. LERNER:· I am tired and the witness is

  ·3· · · · tired.

  ·4· ·BY MR. ROSENTHAL:

  ·5· · · · Q· · One of the areas in the corporate --

  ·6· · · · · · ·MR. LERNER:· And Christina is tired.

  ·7· ·BY MR. ROSENTHAL:

  ·8· · · · Q· · -- corporate rep designation is

  ·9· ·communications that Benlida had with Sinosure.

  10· · · · A· · Yes.

  11· · · · Q· · Are you familiar with a company in China

  12· ·called as Sinosure?

  13· · · · A· · Yes.

  14· · · · Q· · Do you pronounce it Sinosure?

  15· · · · A· · Sinosure.

  16· · · · Q· · Sinosure is like an insurance company with

  17· ·respect to foreign exchange of business; is that

  18· ·correct?

  19· · · · A· · For insurance.· For insurance business.

  20· · · · Q· · Okay.· And does Sinosure provide insurance to

  21· ·Benlida?

  22· · · · A· · Yes.

  23· · · · Q· · If Benlida waits too long to collect its

  24· ·accounts receivable, does Sinosure pay attention to

  25· ·that?


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  ·1· · · · A· · Yes.

  ·2· · · · Q· · Does Benlida have to report to Sinosure --

  ·3· · · · · · ·MR. LERNER:· Getting late for you too.

  ·4· · · · · · ·MR. ROSENTHAL:· I have been saying it as

  ·5· · · · Sinosure the whole time.

  ·6· ·BY MR. ROSENTHAL:

  ·7· · · · Q· · If -- does Sinosure pay attention to

  ·8· ·Benlida's accounts receivable aging?

  ·9· · · · A· · Yes.

  10· · · · Q· · How does it pay attention to it?· Do you send

  11· ·them information?

  12· · · · A· · Yes, they have the system.· We have to fill

  13· ·the numbers on that.

  14· · · · Q· · They have an electronic system you have to

  15· ·fill the numbers in?

  16· · · · A· · Yeah, yeah, yeah.

  17· · · · Q· · How frequently does Benlida have to do that?

  18· · · · A· · Maybe per month.

  19· · · · Q· · And does Sinosure have a rule about how long

  20· ·you can wait before you collect receivables?

  21· · · · A· · We have AMS day, and after that if we cannot

  22· ·collect the money according to the AMS day, we have to

  23· ·report to them 60 days --

  24· · · · Q· · Sixteen?

  25· · · · A· · Not later than 60 days.


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  ·1· · · · Q· · One-six, 16?

  ·2· · · · A· · Six-O.

  ·3· · · · Q· · Sixty days?

  ·4· · · · A· · Yes, 60.

  ·5· · · · Q· · And let's say that those 60 days pass, then

  ·6· ·what happens between Benlida and Sinosure?

  ·7· · · · A· · We reduce our limit.

  ·8· · · · Q· · And what is the limit?· What is it's

  ·9· ·function?

  10· · · · A· · Limit, the receivable, they will insurance.

  11· · · · Q· · What do you mean by they will insurance?

  12· · · · A· · For example, we have receivable from

  13· ·Circuitronix about two million.· If they only give us

  14· ·1 million limit, the other 1 million was not insurance.

  15· · · · Q· · Was not insured?

  16· · · · A· · Yes.

  17· · · · Q· · Not covered by the Sinosure insurance policy?

  18· · · · A· · Yeah, yeah, yeah.

  19· · · · Q· · What difference does that make to Sinosure?

  20· ·Do they care if Benlida exceeds the limit?

  21· · · · · · ·MR. LERNER:· Objection.

  22· ·BY MR. ROSENTHAL:

  23· · · · Q· · My question is if that happens and the amount

  24· ·of money that is in the accounts receivable to

  25· ·Circuitronix is 2 million but Benlida's limit with


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  ·1· ·Sinosure is only 1 million, does Sinosure come knock at

  ·2· ·the door and start yelling, or what happens?

  ·3· · · · A· · I don't know.· Because we if we do business

  ·4· ·with Circuitronix over the limit, so the over limit

  ·5· ·part will not be insurance.· That is the deal.

  ·6· · · · Q· · That is what?

  ·7· · · · A· · That is the deal we do with Sinosure.

  ·8· · · · Q· · Who is the risk on if you do business with

  ·9· ·Circuitronix above the Sinosure limit?· The risk is on

  10· ·Benlida, right?

  11· · · · A· · Yes.

  12· · · · Q· · Did you make any -- did Benlida make any

  13· ·claims to Sinosure for insurance coverage related to

  14· ·Circuitronix?

  15· · · · A· · Yes.

  16· · · · Q· · Circuitronix USA?

  17· · · · A· · Yeah, and Hong Kong.

  18· · · · Q· · Also Hong Kong.· When did that do that?· Do

  19· ·you know?

  20· · · · A· · August 2019.

  21· · · · Q· · And --

  22· · · · A· · August or September.· I cannot remember.

  23· · · · Q· · But according to Benlida's records, at least,

  24· ·Circuitronix USA owed Benlida money for a long time

  25· ·before August of 2019, right?


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  ·1· · · · A· · I am not sure.· Maybe monthly.

  ·2· · · · Q· · Is it done electronically?

  ·3· · · · A· · Yes, they have the system.

  ·4· · · · Q· · They have a system where you have to input

  ·5· ·data?

  ·6· · · · A· · Yes.

  ·7· · · · Q· · And who at Benlida was responsible --

  ·8· ·principally responsible for sending in that data to the

  ·9· ·Chinese Customs Agency?

  10· · · · · · ·(Question interpreted.)

  11· · · · A· · A colleague in the financial department.

  12· · · · Q· · Say that again louder.

  13· · · · A· · A colleague in the financial department.

  14· · · · Q· · What is the name of that colleague?

  15· · · · A· · I am not sure if it's specific person or not.

  16· · · · Q· · And then there is a separate Tax Authority in

  17· ·China, right, that is different from the Customs

  18· ·Authority?

  19· · · · A· · Yes.

  20· · · · Q· · Is there any regular reporting required to be

  21· ·done to the Chinese Tax Authority?

  22· · · · A· · Yeah.

  23· · · · Q· · How frequently?

  24· · · · A· · I don't know how to -- maybe a year or a

  25· ·month.· I don't know.


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 ·1· · · · Q· · Is that something that you get involved in?

 ·2· · · · A· · I know the whole picture, but I don't know

 ·3· ·the operational of process of that.

 ·4· · · · Q· · And is part of the reporting that Benlida has

 ·5· ·to do to the Chinese Tax Authority its transactions in

 ·6· ·foreign currency?

 ·7· · · · A· · Yes.

 ·8· · · · Q· · You have to report how many US dollars, for

 ·9· ·example, you received?

 10· · · · A· · Yes.

 11· · · · Q· · And do you have to report how many RMBs you

 12· ·receive?

 13· · · · A· · From foreign?

 14· · · · Q· · From any companies.

 15· · · · A· · No.

 16· · · · Q· · So the focus is on money coming into China

 17· ·from outside of China?

 18· · · · A· · Yes.

 19· · · · Q· · Including Hong Kong?

 20· · · · A· · Yes.

 21· · · · Q· · Is Hong Kong considered, for tax reporting

 22· ·purposes, foreign?

 23· · · · A· · Yes.

 24· · · · Q· · And does the -- do you know whether the

 25· ·Chinese Tax Authority compares the amount of foreign


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 ·1· ·money coming into a Chinese company like Benlida to the

 ·2· ·sales of products that the company makes to the foreign

 ·3· ·buyer?

 ·4· · · · A· · Yes.

 ·5· · · · Q· · Are those supposed to match?

 ·6· · · · A· · Yes.

 ·7· · · · Q· · Sometimes -- are you aware of any

 ·8· ·circumstances where Benlida's foreign currency

 ·9· ·transactions did not match --

 10· · · · A· · Yes.

 11· · · · Q· · -- it's sales of products?

 12· · · · A· · Yeah.· For this case still don't match.

 13· · · · Q· · Did that cause any trouble with the Chinese

 14· ·Tax Authority?

 15· · · · A· · Trouble with us.

 16· · · · Q· · Caused trouble for Benlida?

 17· · · · A· · Yes.

 18· · · · Q· · Would it be legal under Chinese -- let me ask

 19· ·the question differently, because Mr. Lerner has gotten

 20· ·all prickly looking.

 21· · · · · · ·Based upon your understanding of how a

 22· ·Chinese company like Benlida is supposed to operate

 23· ·with reporting of foreign currency transactions to the

 24· ·government, would it be a problem if Benlida asked a

 25· ·United States company to send it dollars for products


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